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                                      No. 23-10718


                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


  Jennifer VanDerStok; Michael G. Andren; Tactical Machining, L.L.C., a limited liability
        company; Firearms Policy Coalition, Incorporated, a nonprofit corporation,
                                                Plaintiffs-Appellees,

   Blackhawk Manufacturing Group, Incorporated, doing business as 80 Percent Arms;
Defense Distributed; Second Amendment Foundation, Incorporated; Not An L.L.C., doing
                    business as JSD Supply; Polymer80, Incorporated,
                                                Intervenor Plaintiffs-Appellees,

                                               v.
  Merrick Garland, U.S. Attorney General; United States Department of Justice; Steven
Dettelbach, in his official capacity as Director of the Bureau of Alcohol, Tobacco, Firearms
         and Explosives; Bureau of Alcohol, Tobacco, Firearms, and Explosives,
                                                    Defendants-Appellants.


                     On Appeal from the United States District Court
                          for the Northern District of Texas


         SUPPLEMENTAL BRIEF IN RESPONSE TO THIS COURT’S
                   SEPTEMBER 25, 2023 ORDER


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      On September 25, 2023, this Court entered an order directing the government

to file a supplemental brief addressing whether the government intends to enforce the

Rule pending appeal with respect to the parties in this case and with respect to the

parties’ customers. The answer to both of the Court’s questions is “Yes”: but for the

district court’s injunctions pending appeal, the government intends to enforce the

Rule. The government’s intention is explained below.

      A.     Background on the Rule’s Requirements.

      The Gun Control Act of 1968 enacted requirements for persons who import,

manufacture, or deal in “firearms.” See 18 U.S.C. §§ 922-23. Such persons must

obtain a federal firearm license, id. § 923(a), maintain records of firearm acquisition

and disposition, id. § 923(g)(1)(A), and conduct a background check before

transferring firearms to a non-licensee, id. § 922(t). Congress has also required

importers and manufacturers to identify each firearm they import or manufacture

with a serial number on the frame or receiver. Id. § 923(i).

      As explained in the government’s merits brief, the statutory scheme hinges on

the definition of “firearm,” a term defined in the statute. See 18 U.S.C. § 921(a)(3).

The Rule at issue here updates the regulatory definition of “firearm” to specify that

the term includes “a weapon parts kit that is designed to or may readily be completed,

assembled, restored, or otherwise converted to expel a projectile by the action of an

explosive.” 84 Fed. Reg. 24,652, 24,662, 24,727, 24,735 (Apr. 26, 2022). And the

Rule updates the regulatory definitions of “frame” and “receiver” to include certain
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partially complete, disassembled, or nonfunctional frames or receivers. See id. at

24,663, 24,727-28, 24,739. Through these requirements, the Rule ensures that all

firearms have a frame or receiver subject to the Gun Control Act’s serialization,

recordkeeping, and background check requirements.

      B.     ATF’s Implementation and Enforcement of the Rule

      1. This Court requested that the government state whether it “intend[s] to

enforce [the Rule] pending appeal with respect to the parties in this case.” The

answer is yes: plaintiffs that import, manufacture, or deal in firearms must comply

with the Gun Control Act, as interpreted by the Rule, like all other importers,

manufacturers, or dealers in firearms. This means that they must be licensed and that

they must put serial numbers on the frames or receivers of firearms they sell

(including weapon parts kits and partially complete frames and receivers covered by

the Rule). They must also keep records of such sales and conduct background checks

when transferring firearms, to ensure that prohibited persons do not obtain firearms.

If plaintiffs do not comply with these requirements, they will be subject to appropriate

enforcement action like any other importer, manufacturer, or dealer in firearms that

does not comply with the commercial sale requirements of the Gun Control Act.

Indeed, the government filed its (successful) application to stay the district court’s

final judgment for the very purpose of being allowed to continue to enforce the Rule

against importers, manufacturers, and dealers—including plaintiffs—during the

pendency of this litigation. See Gov’t Appl., Garland v. VanDerStok, No. 23A82, 2023
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WL 4844058, at *36 (requesting a stay because “[t]he district court’s vacatur prevents

ATF from relying on the Rule and effectively gives [plaintiffs] —and other ghost-gun

manufacturers and sellers—the green light to resume distribution of ghost guns

without background checks, records, or serial numbers”).

      As for parties that are not manufacturers, importers, or dealers of firearms, the

application of the Rule will be discussed in the next section.

      2. This Court also asked the government to address whether it “intend[s] to

enforce [the Rule] pending appeal with respect to the parties’ customers.” The answer

is yes. It is important to clarify, however, that it is not a violation of the Gun Control

Act (or the Rule) for persons not otherwise prohibited from possessing firearms to

possess partial frames or receivers, or weapon parts kits; what is at issue here are

requirements for their commercial sale. The government will, however, enforce the

Gun Control Act as to those persons prohibited from possessing firearms under

federal law, such as individuals, like convicted felons, prohibited from possessing

firearms under 18 U.S.C. § 922(g). This is true whether or not such persons are

customers of plaintiffs; indeed, ATF has no way of identifying the class of plaintiffs’

customers, in any event.

      The Gun Control Act also does not prevent individuals that are not otherwise

prohibited by law from possessing a firearm from making their own firearms at home

for personal use. Individuals not otherwise prohibited by law may purchase and use

partially complete frames, partially complete receivers, or weapon parts kits in their
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assembly so long as the manufacturers, importers, and dealers from whom they

purchased such items—like plaintiffs Blackhawk and Defense Distributed—comply

with the commercial sale requirements of the Gun Control Act. See 18 U.S.C.

§ 922(a)(2)-(3).

                                              Respectfully submitted,

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September 2023




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                          CERTIFICATE OF SERVICE

      I hereby certify that on September 26, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the appellate CM/ECF system. Participants in the case are registered

CM/ECF users, and service will be accomplished by the appellate CM/ECF system.


                                                /s/ Courtney L. Dixon
                                               COURTNEY L. DIXON
